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                     IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA

                                      SENTENCING
UNITED STATES OF AMERICA,                     )               COURT MINUTES - CRIMINAL
                                              )
                              Plaintiff,      )        Case No:        14-cr-315 (1) (MJD/FLN)
                                              )        Date:           February 22, 2017
               v.                             )        Courthouse:     Minneapolis
                                              )        Courtroom:      13E
Mahdi Hussein Furreh (1)                      )        Court Reporter: Staci Heichert
                                              )        Time Commenced: 10:05 a.m.
                                              )        Time Concluded: 10:35 a.m.
                              Defendant. )             Time in Court:   30 minutes
                                              )
Before Michael J. Davis, United States District Judge.

APPEARANCES:
  For Plaintiff:     Charles Kovats, Assistant U.S. Attorney
  For Defendant:     Manvir Atwal, Assistant Federal Defender

: Sentencing.
: Government’s motion was moved and granted.

IT IS ORDERED:
Defendant is sentenced to:

  Count.       Guilty                        BOP                                    SR
   Nos.         Plea
     1           X                        24 months                               3 years


: Special conditions of: See J&C for special condition.
   : Defendant sentenced to pay:
   : Special assessment in the amount of $100.00 to be paid.
   : Defendant is remanded to the custody of the USM.

Date: February 22, 2017                               s/KW
                                                      Courtroom Deputy to Judge Michael J. Davis
